Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.791 Page 1 of 94




                     Exhibit 35
          Case
7/19/23, 12:07 PM 2:23-cv-00482-RJS-DBP                  Document 3-9    FiledSecretary
                                                                   Mississippi  07/26/23of State PageID.792 Page 2 of 94

    Lazy Magnolia Brewing Company, LLC
       User Actions

         View Filed Documents                  Opt-in or Opt-out of Email updates           Print Business Details


       Name History
         Name                                                                                    Name Type
         Lazy Magnolia Brewing Company, LLC                                                      Legal

      Business Information
         Business Type:                                      Limited Liability Company
         Business ID:                                        855410
         Status:                                             Good Standing
         Effective Date:                                     05/13/2004
         State of Incorporation:                             Mississippi
         Principal Office Address:                           7030 ROSCOE TURNER ROAD
                                                             KILN, MS 39556

      Registered Agent
         Name
         REGISTERED AGENTS INC
         270 TRACE COLONY PARK STE B
         RIDGELAND, MS 39157

      Officers & Directors
         Name                                                                     Title
         Jason Anderson                                                           Manager
         7030 Roscoe-Turner Road
         KILN, MS 39556




https://corp.sos.ms.gov/corp/portal/c/page/corpBusinessIdSearch/portal.aspx#                                               1/1
    Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.793 Page 3 of 94

 F0108                                                               2023205782
 Fee:$                            Michael Watson                    Business ID: 855410
                                  SECRETARY OF STATE            Filed: 04/05/2023 12:19 PM
                                                                      Michael Watson
P.O.BOX136                                                            Secretary of State
JACKSON, MS 39205-0136
TELEPHONE: (601) 359-1633
                               2023 LLC Annual Report

Business Information
                                    Business Name: Lazy Magnolia Brewing Company,
  Business ID: 855410
                                    LLC
  State of Incorporation: MS        Business Email: emily.eads@lazymagnolia.com
  Phone: (***)***-****
  FEIN:**-*******

                    7030 ROSCOE TURNER ROAD
 Principal Address: KILN, MS 39556

Registered Agent
  Name:     REGISTERED AGENTS INC
    ,,,.,   270 TRACE COLONY PARK STE B
  A uuress: RIDGELAND, MS 3915 7

Managers and Members
Managers
  Name:                                      Address:
  Jason Anderson                             7030 Roscoe-Turner Road
  Manager                                    KILN, MS 39556

Officers
  Title/Name:                               Address:                      Director:
  President:                                                                   □

  Vice President:                                                              □

  Secretary:                                                                   □

  Treasurer:                                                                   □

IZI This LLC has a written Operating Agreement.
   Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.794 Page 4 of 94

NAICS Code/Nature of Business
 312120 - Breweries

Signature
By entering my name in the space provided, I certify that I am authorized to file this
document on behalf of this entity, have examined the document and, to the best of my
knowledge and belief, it is true, correct and complete as of this day 04/05/2023.
 Name:                                 Address:
 Jason Anderson                        7030 Roscoe Turner Rd
 Other                                 Kiln, MS 39556
   Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.795 Page 5 of 94

Officers List
 Name:                                     Address:
 Jason Anderson                            7030 Roscoe-Turner Road
 Manager                                   KILN, MS 39556
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.796 Page 6 of 94




                     Exhibit 36
          Case
7/19/23, 12:07 PM 2:23-cv-00482-RJS-DBP                  Document 3-9    FiledSecretary
                                                                   Mississippi  07/26/23of State PageID.797 Page 7 of 94

    Lazy Magnolia Brewing Company, LLC
       User Actions

         View Filed Documents                  Opt-in or Opt-out of Email updates           Print Business Details


       Name History
         Name                                                                                    Name Type
         Lazy Magnolia Brewing Company, LLC                                                      Legal

      Business Information
         Business Type:                                      Limited Liability Company
         Business ID:                                        855410
         Status:                                             Good Standing
         Effective Date:                                     05/13/2004
         State of Incorporation:                             Mississippi
         Principal Office Address:                           7030 ROSCOE TURNER ROAD
                                                             KILN, MS 39556

      Registered Agent
         Name
         REGISTERED AGENTS INC
         270 TRACE COLONY PARK STE B
         RIDGELAND, MS 39157

      Officers & Directors
         Name                                                                     Title
         Jason Anderson                                                           Manager
         7030 Roscoe-Turner Road
         KILN, MS 39556




https://corp.sos.ms.gov/corp/portal/c/page/corpBusinessIdSearch/portal.aspx#                                               1/1
    Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.798 Page 8 of 94

 F0108                                                               2023205782
 Fee:$                            Michael Watson                    Business ID: 855410
                                  SECRETARY OF STATE            Filed: 04/05/2023 12:19 PM
                                                                      Michael Watson
P.O.BOX136                                                            Secretary of State
JACKSON, MS 39205-0136
TELEPHONE: (601) 359-1633
                               2023 LLC Annual Report

Business Information
                                    Business Name: Lazy Magnolia Brewing Company,
  Business ID: 855410
                                    LLC
  State of Incorporation: MS        Business Email: emily.eads@lazymagnolia.com
  Phone: (***)***-****
  FEIN:**-*******

                    7030 ROSCOE TURNER ROAD
 Principal Address: KILN, MS 39556

Registered Agent
  Name:     REGISTERED AGENTS INC
    ,,,.,   270 TRACE COLONY PARK STE B
  A uuress: RIDGELAND, MS 3915 7

Managers and Members
Managers
  Name:                                      Address:
  Jason Anderson                             7030 Roscoe-Turner Road
  Manager                                    KILN, MS 39556

Officers
  Title/Name:                               Address:                      Director:
  President:                                                                   □

  Vice President:                                                              □

  Secretary:                                                                   □

  Treasurer:                                                                   □

IZI This LLC has a written Operating Agreement.
   Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.799 Page 9 of 94

NAICS Code/Nature of Business
 312120 - Breweries

Signature
By entering my name in the space provided, I certify that I am authorized to file this
document on behalf of this entity, have examined the document and, to the best of my
knowledge and belief, it is true, correct and complete as of this day 04/05/2023.
 Name:                                 Address:
 Jason Anderson                        7030 Roscoe Turner Rd
 Other                                 Kiln, MS 39556
   Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.800 Page 10 of 94

Officers List
 Name:                                     Address:
 Jason Anderson                            7030 Roscoe-Turner Road
 Manager                                   KILN, MS 39556
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.801 Page 11 of 94




                      Exhibit 37
         Case
7/19/23, 12:11 PM2:23-cv-00482-RJS-DBP                 Document
                                                       SilverFlume    3-9 Business
                                                                   Nevada's Filed Portal
                                                                                   07/26/23         PageID.802
                                                                                         to start/manage your business Page 12 of 94




     ENTITY INFORMATION



        ENTITY INFORMATION



            Entity Name:

            WESTERN OIL EXPLORATION COMPANY
            Entity Number:

            E0373842018-4

            Entity Type:

            Domestic Corporation (78)
            Entity Status:

            Active

            Formation Date:

            08/08/2018
            NV Business ID:

            NV20181564479

            Termination Date:

            Perpetual

            Annual Report Due Date:

            8/31/2023




        REGISTERED AGENT INFORMATION


            Name of Individual or Legal Entity:

            NORTHWEST REGISTERED AGENT, LLC.
            Status:

            Active

https://esos.nv.gov/EntitySearch/BusinessInformation                                                                                   1/3
         Case
7/19/23, 12:11 PM2:23-cv-00482-RJS-DBP                 Document
                                                       SilverFlume    3-9 Business
                                                                   Nevada's Filed Portal
                                                                                   07/26/23         PageID.803
                                                                                         to start/manage your business Page 13 of 94

             CRA Agent Entity Type:

             Registered Agent Type:

             Commercial Registered Agent

             NV Business ID:

             NV20081382859
             Office or Position:


             Jurisdiction:

             WYOMING

             Street Address:

             401 RYLAND ST STE 200-A, Reno, NV, 89502, USA

             Mailing Address:


             Individual with Authority to Act:

             Tom Glover

             Fictitious Website or Domain Name:




      OFFICER INFORMATION

             VIEW HISTORICAL DATA


                                                                                                              Last
     Title         Name                   Address                                                             Updated           Status

     Secretary Randi Miller               848 Rainbow Blvd. Suite 2818, Las Vegas, NV, 89107,                 01/10/2023        Active
                                          USA

     President James Franklin 848 Rainbow Blvd. Suite 2818, Las Vegas, NV, 89107,                             08/31/2021        Active
                              USA

     Treasurer Alberto                    848 N. Rainbow Blvd. Suite 2818 , Las Vegas, NV, 89107,             08/31/2021        Active
               Vasquez                    USA

     Director      James Franklin 848 N. Rainbow Blvd., Suite 2818 , Las Vegas, NV, 89107,                    08/31/2021        Active
                                  USA

       Page 1 of 1, records 1 to 4 of 4


     CURRENT SHARES
https://esos.nv.gov/EntitySearch/BusinessInformation                                                                                     2/3
         Case
7/19/23, 12:11 PM2:23-cv-00482-RJS-DBP                   Document
                                                         SilverFlume    3-9 Business
                                                                     Nevada's Filed Portal
                                                                                     07/26/23         PageID.804
                                                                                           to start/manage your business Page 14 of 94


     Class/Series                           Type                           Share Number                    Value

                                            Authorized                     50,000,000                      0.001000000000

         Page 1 of 1, records 1 to 1 of 1



     Number of No Par Value Shares:
     0

     Total Authorized Capital:
     50,000


                                                                  Filing History       Name History           Mergers/Conversions




                                                   Return to Search          Return to Results




https://esos.nv.gov/EntitySearch/BusinessInformation                                                                                     3/3
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.805 Page 15 of 94




                      Exhibit 38
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.806 Page 16 of 94



                                                                              File Number: 11426908
                                                       LLC
                                     Certificate of Organization
                                                  OF
                                           iX Global LLC

    The undersigned person(s) do hereby adopt the following Certificate of Organization
    for the purpose of forming a Utah Limited Liability Company.

                                                    Article I
    The name of the limited liability company is to be iX Global LLC


                                                   Article II
    The purpose or purposes for which the company is organized is to engage in:
    iX Gloabl will be used to manage and operate all expanding or developing markets in where
    iX Global will operate.

    The Company shall further have unlimited power to engage in or to perform any
    and all lawful acts pertaining to the management of any lawful business as well as to
    engage in and to do any lawful act concerning any and all lawful business for which
    a Limited Liability Company may be organized under the Utah Limited Liability
    Company Act and any amendments thereto.

                                                  Article III
    The Company shall continuously maintain an agent in the State of Utah for service of
    process who is an individual residing in said state. The name and address of the initial
    registered agent shall be:
                               (Registered Agent Name & Address)
                               Joseph Anthony Martinez
                               769 S Tanglewood Loop
                               North Salt Lake, UT, 84054

                  State of Utah
                  Department of Commerce
                  Division of Corporations & Commercial Code

                  This certifies that this registration has been filed and
                  approved on 22, August 2019 in the office of the Division
                  and hereby issues this Certification thereof.




            JASON STERZER
            Division Director
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.807 Page 17 of 94




                                                            Article IV
    Name, Street address & Signature of all members/managers
    Member #1
    PREMIER EXPANSION L.L.C.
    769 S Tanglewood Loop
    North Salt Lake, UT 84054
    PREMIER EXPANSION L.L.C.
    Signature

    DATED 22 August, 2019.

                                                             Article V
    Management statement
    This limited liability company will be managed by its Members

                                                            Article VI
    Records required to be kept at the principal office include, but are not limited to the
    following:
                                                           Article VI.1
                                 A current list in alphabetical order of the full name
                                  and address of each member and each manager.
                                                           Article VI.2
                                  A copy of the stamped certificate of Organization
                                     and all certificates of amendments thereto.
                                                           Article VI.3
                                  Copies of all tax returns and financial statements
                                  of the company for the three most recent years.
                                                           Article VI.4
      A copy of the company's operating agreement and minutes of each meeting of members.


                                                           Article VII

    The street address of the principal place of business is:
                                                                                       173 Bountiful Blvd
                                                                                       Bountiful, UT 84010

                                                          Article VIII
    The duration of the company shall be perpetual
    Under GRAMA {63-2-201}, all registration information maintained by the Division is classified as public record. For confidentiality
    purposes, the business entity physical address may be provided rather than the residential or private address of any individual
    affiliated with the entity.
         Case
7/19/23, 12:12 PM2:23-cv-00482-RJS-DBP              Document         3-9
                                                    Entity Details: IX     Filed
                                                                       GLOBAL LLC 07/26/23
                                                                                  - Utah BusinessPageID.808
                                                                                                 Search - Utah.gov Page 18 of 94




    IX GLOBAL LLC                                                                Update this Business


    Entity Number: 11426908-0160
    Company Type: LLC - Domestic
    Address: 769 TANGLEWOOD LOOP NORTH SALT LAKE, UT 84054
    State of Origin:
    Registered Agent: Joseph Anthony Martinez
    Registered Agent Address:
    769 S Tanglewood Loop                                                     View Management Team

    North Salt Lake, UT 84054

    Status: Active                                                    Purchase Certificate of Existence



    Status: Active    as of 09/21/2020
    Renew By: 08/31/2023
    Status Description: Current
    The "Current" status represents that a renewal has been filed, within the most recent
    renewal period, with the Division of Corporations and Commercial Code.
    Employment Verification: Not Registered with Verify Utah

                                                                                View Filed Documents
    History

    Registration Date: 08/22/2019
    Last Renewed: 06/17/2022

    Additional Information

    NAICS Code: 5511 NAICS Title: 5511-Management of Companies and Enterpr




                                                                                                                                        Give Feedback
    << Back to Search Results




               Business Name:




                                                                                                                               Privacy - Terms



https://secure.utah.gov/bes/displayDetails.html                                                                                                  1/1
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.809 Page 19 of 94




                     State of Utah
                     DEPARTMENT OF COMMERCE
                     Division of Corporations & Commercial Code




  Summary of Online Changes




  Business Name: IX GLOBAL LLC
  Entity number: 11426908-0160

  Oate of Filing: 09/20/2020

  Principal Office Address:
  Street .......................... 769 Tanglewood Loop
  City ............................. North Salt Lake
  State ........................... UT
  Zip .............................. 84054
  Country ...................... United States




                                                             Joseph Mart inez, 09/20/2020


 Underr GRAMA (63- 2- 20 ll, all regi.,;tr.uion information maintained by the Oivl<i.on is
 cla.,;:slfied a,; public record. For conHdentialiry purposes. the bustne.,;s entiry physical
 address may be provided rather than the re..,;idential or private addre.,;s of any individual
 affiliated with the entity.
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.810 Page 20 of 94




                      Exhibit 39
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.811 Page 21 of 94



                                                                               File Number: 13006898
                                                        LLC

                                    Certificate of Organization
                                                 OF
                                  B & B Investment Group, LLC

    The undersigned person(s) do hereby adopt the following Certificate of Organization
    for the purpose of forming a Utah Limited Liability Company.

                                                     Article I
    The name of the limited liability company is to be B & B Investment Group, LLC


                                                    Article II
    The purpose or purposes for which the company is organized is to engage in:
    Sales Management

    The Company shall further have unlimited power to engage in or to perform any
    and all lawful acts pertaining to the management of any lawful business as well as to
    engage in and to do any lawful act concerning any and all lawful business for which
    a Limited Liability Company may be organized under the Utah Limited Liability
    Company Act and any amendments thereto.

                                                   Article III
    The Company shall continuously maintain an agent in the State of Utah for service of
    process who is an individual residing in said state. The name and address of the initial
    registered agent shall be:
                               (Registered Agent Name & Address)
                               Ben Frank Daniels
                               652 W Rachelle Park CV
                               South Jordan, UT, 84095


                   State of Utah
                   Department of Commerce
                   Division of Corporations & Commercial Code

                   This certifies that this registration has been filed and
                   approved on 26, August 2022 in the office of the Division
                   and hereby issues this Certification thereof.




            Leigh Veillette
            Division Director
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.812 Page 22 of 94




                                          Article IV
    Name, Street address & Signature of all members/managers
    Member #1
    Ben Frank Daniels
    652 W Rachelle Park CV
    South Jordan, UT 84095
    Ben Frank Daniels
    Signature
    Member #2
    William Scott Beach
    9103 S Hidden Peak Dr
    West Jordan, UT 84088
    William Scott Beach
    Signature

    DATED 26 August, 2022.

                                           Article V
    Management statement
    This limited liability company will be managed by its Members

                                          Article VI
    Records required to be kept at the principal office include, but are not limited to the
    following:
                                         Article VI.1
                       A current list in alphabetical order of the full name
                        and address of each member and each manager.
                                         Article VI.2
                        A copy of the stamped certificate of Organization
                           and all certificates of amendments thereto.
                                         Article VI.3
                        Copies of all tax returns and financial statements
                        of the company for the three most recent years.
                                         Article VI.4
     A copy of the company's operating agreement and minutes of each meeting of members.


                                          Article VII
    The street address of the principal place of business is:
                                                            652 W Rachelle Park CV
                                                            South Jordan, UT 84095

                                         Article VIII
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.813 Page 23 of 94



    The duration of the company shall be perpetual
    Under GRAMA {63-2-201}, all registration information maintained by the Division is classified as public record. For confidentiality
    purposes, the business entity physical address may be provided rather than the residential or private address of any individual
    affiliated with the entity.
         Case
7/19/23, 6:11 PM 2:23-cv-00482-RJS-DBP      Document
                                   Entity Details:           3-9 Filed
                                                   B & B INVESTMENT    07/26/23
                                                                    GROUP,            PageID.814
                                                                           LLC - Utah Business            Page 24 of 94
                                                                                               Search - Utah.gov




    B & B INVESTMENT GROUP, LLC                                                  Update this Business


    Entity Number: 13006898-0160
    Company Type: LLC - Domestic
    Address: 652 W Rachelle Park CV South Jordan, UT 84095
    State of Origin:
    Registered Agent: Ben Frank Daniels
    Registered Agent Address:
    652 W Rachelle Park CV                                                    View Management Team

    South Jordan, UT 84095

    Status: Active                                                    Purchase Certificate of Existence



    Status: Active    as of 08/26/2022
    Renew By: 08/31/2023
    Status Description: Current
    The "Current" status represents that a renewal has been filed, within the most recent
    renewal period, with the Division of Corporations and Commercial Code.
    Employment Verification: Not Registered with Verify Utah

                                                                                View Filed Documents
    History

    Registration Date: 08/26/2022
    Last Renewed: N/A

    Additional Information

    NAICS Code: 5511 NAICS Title: 5511-Management of Companies and Enterpr




                                                                                                                               Give Feedback
    Doing Business As

    CORE 1 CRYPTO

    << Back to Search Results




               Business Name:




                                                                                                                      Privacy - Terms



https://secure.utah.gov/bes/displayDetails.html                                                                                         1/1
       Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.815 Page 25 of 94
                                                                                                    File Number: 13051935
              State of Utah
              DEPARTMENT OF COMMERCE
              Division of Corporations & Commercial Code



                Business Name Registration / DBA Application
Requested Business Name: CORE 1 CRYPTO
Entity Number: 13051935
Application Date: 09/27/2022
Approved Date: 09/27/2022
Expiration Date: 09/27/2025
Filer Electronic Signature: Benjamin Daniels

Business Information
Purpose: Other Schools and Instruction
Address: 652 W Rachelle Park CV
 South Jordan, UT 84095
Female Owned: No
Minority Owned: No

Registered Agent
Name: B & B INVESTMENT GROUP, LLC
Type: Regular
Address: 652 W Rachelle Park CV
 South Jordan, UT 84095

Applicant / Owner(s):
Name: B & B INVESTMENT GROUP, LLC
Entity Number: 13006898-0160
Address: 652 W Rachelle Park CV
 South Jordan, UT 84095



                                         State of Utah
                                         Department of Commerce
                                         Division of Corporations & Commercial Code

                                         This certifies that this registration has been filed and
                                         approved on 27, September 2022 in the office of the
                                         Division and hereby issues this Certification thereof.




                                                    Leigh Veillette
                                                    Division Director
           Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.816 Page 26 of 94
Under GRAMA {63-2-201}, all registration information maintained by the Division is classified as public record. For confidentiality purposes, the
business entity physical address may be provided rather than the residential or private address of any individual affiliated with the entity.
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.817 Page 27 of 94




                      Exhibit 40
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.818 Page 28 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.819 Page 29 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.820 Page 30 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.821 Page 31 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.822 Page 32 of 94




                      Exhibit 41
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.823 Page 33 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.824 Page 34 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.825 Page 35 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.826 Page 36 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.827 Page 37 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.828 Page 38 of 94
         Case
7/19/23, 6:32 PM 2:23-cv-00482-RJS-DBP            Document
                                                      Business3-9    Filed- Wyoming
                                                              Entity Detail 07/26/23      PageID.829
                                                                                    Secretary of State Page 39 of 94


Business Center                                                                                      Online Services Search



    DETAIL                                                  RETURN TO YOUR SEARCH                   FILE YOUR ANNUAL REPORT


       Archer Drilling, LLC

     This detail reflects the current data for the filing in the system.                                                      Print
       Name
       Archer Drilling, LLC
       Filing ID                                                Status                                             Fictitious Name
       2022-001098848                                           Active
       Type
                                                                Sub Status
       Limited Liability Company - Domestic
                                                                Current
                                                                Initial Filing
                                                                04/03/2022
                                                                Delayed Effective Date
                                                                04/04/2022

       Standing - Tax                                           Term of Duration
       Good                                                     Perpetual
       Standing - RA                                            Formed In
       Good                                                     Wyoming
       Standing - Other
       Good
                                                                Principal Office
                                                                1812 W Sunset Blvd Ste 1-345
                                                                St George, UT 84770-6685
                                                                USA

       Mailing Address
       1812 W Sunset Blvd Ste 1-345
       St George, UT 84770-6685
       USA



      Additional Details

       Registered Agent:                                        Latest AR/Year
       Gene Purdy                                               08274759 / 2023
       1100 Harrison Dr                                         AR Exempt
       P o Box 94                                               No
       pine bluffs, WY 82082                                    License Tax Paid
                                                                $60.00



      History


       Address Update - 2023-004071702                                                                      Date: 03/09/2023
https://wyobiz.wyo.gov/Business/FilingDetails.aspx?eFNum=218015196136123176065054042116184207063178055023                            1/2
         Case
7/19/23, 6:32
                      p
              PM 2:23-cv-00482-RJS-DBP            Document
                                                      Business3-9    Filed- Wyoming
                                                              Entity Detail 07/26/23      PageID.830
                                                                                    Secretary of State Page 40 of 94


       2023 Original Annual Report - 08274759                                                                  Date: 03/08/2023

       Initial Filing - See Filing ID                                                          Date: 04/03/2022 effective 04/04/20


      Public Notes
     No Public Notes Found...
      Parties

             James Franklin (Organizer)                                                                 Organization:
                                               Address: 1100 Harrison Dr.




https://wyobiz.wyo.gov/Business/FilingDetails.aspx?eFNum=218015196136123176065054042116184207063178055023                         2/2
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.831 Page 41 of 94




                      Exhibit 42
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.832 Page 42 of 94



                                                                              File Number: 10840511
                                                         LLC

                                   Certificate of Organization
                                                OF
                                 Business Funding Solutions, LLC

    The undersigned person(s) do hereby adopt the following Certificate of Organization
    for the purpose of forming a Utah Limited Liability Company.

                                                      Article I
    The name of the limited liability company is to be Business Funding Solutions, LLC


                                                     Article II
    The purpose or purposes for which the company is organized is to engage in:
    We help startup companies get the financing needed to grow

    The Company shall further have unlimited power to engage in or to perform any
    and all lawful acts pertaining to the management of any lawful business as well as to
    engage in and to do any lawful act concerning any and all lawful business for which
    a Limited Liability Company may be organized under the Utah Limited Liability
    Company Act and any amendments thereto.

                                                    Article III
    The Company shall continuously maintain an agent in the State of Utah for service of
    process who is an individual residing in said state. The name and address of the initial
    registered agent shall be:
                               (Registered Agent Name & Address)
                               Jason R Anderson
                               1086 E Skyler Dr
                               Draper, UT, 84020


                   State of Utah
                   Department of Commerce
                   Division of Corporations & Commercial Code

                   This certifies that this registration has been filed and
                   approved on 17, May 2018 in the office of the Division
                   and hereby issues this Certification thereof.




            KATHY BERG
            Division Director

                                                    Article IV
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.833 Page 43 of 94



    Name, Street address & Signature of all members/managers
    Member #1
    Jason R Anderson
    1086 East Skyler Dr
    Draper, UT 84020
    Jason R Anderson
    Signature

    DATED 17 May, 2018.


                                                             Article V
    Management statement
    This limited liability company will be managed by its Members

                                                            Article VI
    Records required to be kept at the principal office include, but are not limited to the
    following:
                                                           Article VI.1
                                 A current list in alphabetical order of the full name
                                  and address of each member and each manager.
                                                           Article VI.2
                                  A copy of the stamped certificate of Organization
                                     and all certificates of amendments thereto.
                                                           Article VI.3
                                  Copies of all tax returns and financial statements
                                   of the company for the three most recent years.
                                                           Article VI.4
      A copy of the company's operating agreement and minutes of each meeting of members.


                                                           Article VII

    The street address of the principal place of business is:
                                                       3939 South Wasatch Blvd STE 2
                                                              Salt Lake, UT 84124

                                                          Article VIII
    The duration of the company shall be perpetual
    Under GRAMA {63-2-201}, all registration information maintained by the Division is classified as public record. For confidentiality
    purposes, the business entity physical address may be provided rather than the residential or private address of any individual
    affiliated with the entity.
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.834 Page 44 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.835 Page 45 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.836 Page 46 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.837 Page 47 of 94




                      Exhibit 43
             Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.838 Page 48 of 94
                  Stale of Utah                     r/fb/Nfm ffitt.sr be ape Mv/fycM (,ffnpwffy                        wfr*/.
                  Department of Commerce
                  DivLsion of Coi poi ations & Commercial Code
                  Foreign Registration Statement (Foreign Limited Liability Company)


                                                                                                        %Df7E
                                                                                                                                                                             Code

    linpoi taut: Read instructions before completing form                                                                       \nn-R^fimd*blePtAfMsin»FmrS2!!:%
     1. Exact Name of Foreign Limileil Liability Coinpani:               BLOX Lending, LLC
     2. Jui isdictitin ul hirmation:           Nevada
     3. Prineipal iiffiee address:              13894 S. Bangerter Pkwy Ste 200                                 Draper                              UT         84020
             Slice! Addrtw Required
                                                                                                                 City                                State       ap
     L The name of the Registered Agent (Individual or Business Entity or Commercial Registered Agent);
        Jason Anderson
     77ir address mosf be listed ifyou Aoee a Mou-eouuuereud regtsrered ogenr. .See tusrruedous/or/iirt/ier derotts.
     Addres. of the Registered Agent:     13894 S. BangertCf Pkwy Stc 200
                                              I'lxili Sirm 'Vdclrcfs Required. PO can he Ihtcd alter ihe Strtcl \Udrr»
     City:    Drap^                                                                                                                State UT        zip:      84020
        If tilt name i.-s not available in Utah tlie LLC .shall use a.s it's name:
      BLOX Lending I, LLC
     __________________________________ Must he the same as number (1) unless the name Is nut available or permilird in tJl:ili
     6. Purpose of (he Limited Liability Company:
        tupuonail
     7. ManagersfMembers of (he Limited Liability Company:
        iogiion^
     Position              Name                       Address                                                                      City                       Smte     Zip

     MANAGER              Jason Anderson 13894 S. Bangerter Pkwy Ste 200, Draper, UT 84020
     MANAGER
     MEMBER               Jason Anderson 13894 S. Bangerter Pkwy Ste 200, Draper, UT 84020
     MEMBER:
     IJnifer penalhcx "f perjury, F declare     thi
     true, correct and coniplvte.
                                                                                                             Jason Anderson Member Manager
                                                        ___________________ NZEl&IilJE______________________________ ,
     Authorized Signature:
     Under GRAMA {63C-2.2ia}‘’ all Mglilrttl,
                                         ' tl^n mfimnatlon maintained by the Division is elassifiud a.s publie rceord. For eonfidentiality purposes, you may
     use the business entity physieal address rather than the residential or private addrc.ss of any individual aftlliated svith the entity._______________________
     Optional Iiiftiision of Ovvnerxbip Itiforniatioii:            I hi) inrurnralioii is not fi’tiiitt fd.
     Is this a Female owned business''       O Yes                          C)No
                                                      ^^Yes                                                                 Sclect/Typt: the race of tlie owner here
     Is this a minority owned business?                                                     IF yes, please specify




                                                                                             Stale of Utah
                                                                                     Department of Commerce
                                                                         Division of Corporations and Commercial Code
                                                                       I hereby certified that ttM/foregoin&has been ({in
                                                                      arxl approved on this 6_/day          of.ij3J^l_20.%^
                                                                                                      ^day of
                                                                         In this office of this Division arxt heraby issued
                                                                                       This  Oertlffeate thtsreof.
                                                                                          s OeftHfeate   thereof.



                                                                      Examiner                                Date
                                                                                                                        2240^2?^

    0l'l4
                                                                                            Leigh Veillette
                                                                                            Division Director




9
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.839 Page 49 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.840 Page 50 of 94




                      Exhibit 44
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.841 Page 51 of 94



                                                                             File Number: 11708970
                                                       LLC

                                     Certificate of Organization
                                                  OF
                                     CalmFritz Holdings, LLC

    The undersigned person(s) do hereby adopt the following Certificate of Organization
    for the purpose of forming a Utah Limited Liability Company.

                                                    Article I
    The name of the limited liability company is to be CalmFritz Holdings, LLC


                                                   Article II
    The purpose or purposes for which the company is organized is to engage in:
    We are buying homes and leasing them.

    The Company shall further have unlimited power to engage in or to perform any
    and all lawful acts pertaining to the management of any lawful business as well as to
    engage in and to do any lawful act concerning any and all lawful business for which
    a Limited Liability Company may be organized under the Utah Limited Liability
    Company Act and any amendments thereto.

                                                  Article III
    The Company shall continuously maintain an agent in the State of Utah for service of
    process who is an individual residing in said state. The name and address of the initial
    registered agent shall be:
                               (Registered Agent Name & Address)
                               Matthew Dillon Fritzsche
                               1086 E Skyler Dr
                               Draper, UT, 84020


                  State of Utah
                  Department of Commerce
                  Division of Corporations & Commercial Code

                  This certifies that this registration has been filed and
                  approved on 23, March 2020 in the office of the Division
                  and hereby issues this Certification thereof.




            JASON STERZER
            Division Director
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.842 Page 52 of 94




                                           Article IV
    Name, Street address & Signature of all members/managers
    Member #1
    Chadwick Calmes
    10081 Rockview Dr
    Sandy, UT 84092
    Chadwick Calmes
    Signature
    Member #2
    Matthew Dillon Fritzsche
    1086 E Skyler Dr
    Draper, UT 84032
    Matthew Dillon Fritzsche
    Signature

    DATED 23 March, 2020.

                                            Article V
    Management statement
    This limited liability company will be managed by its Members

                                           Article VI
    Records required to be kept at the principal office include, but are not limited to the
    following:
                                          Article VI.1
                        A current list in alphabetical order of the full name
                         and address of each member and each manager.
                                          Article VI.2
                        A copy of the stamped certificate of Organization
                           and all certificates of amendments thereto.
                                          Article VI.3
                         Copies of all tax returns and financial statements
                         of the company for the three most recent years.
                                          Article VI.4
     A copy of the company's operating agreement and minutes of each meeting of members.


                                           Article VII
    The street address of the principal place of business is:
                                                                 1086 E Skyler Dr
                                                                 Draper, UT 84020

                                          Article VIII
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.843 Page 53 of 94



    The duration of the company shall be Perpetual
    Under GRAMA {63-2-201}, all registration information maintained by the Division is classified as public record. For confidentiality
    purposes, the business entity physical address may be provided rather than the residential or private address of any individual
    affiliated with the entity.
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.844 Page 54 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.845 Page 55 of 94




                      Exhibit 45
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.846 Page 56 of 94


                                                                                   File Number: 11858239
                                             Profit Corporation

                             ARTICLES OF INCORPORATION
                                         OF
                                   Calmes & Co, Inc.


 The undersigned persons, acting as incorporators under the Utah Revised Business
 Corporation Act, adopt the following Articles of Incorporation for such Corporation:

                                                      Article I
                                                Corporate Name
 The name of the corporation is Calmes & Co, Inc.

                                                      Article II
                                                       Purpose
 Provide technical, management, process, operations and other consulting for businesses.
 The corporation shall further have unlimited power to engage in and do any lawful act
 concerning any and all lawful business for which corporations may be organized under the
 Utah Revised Business Corporation Act and any amendments thereto.

                                                     Article III
                                                   Capital Stock
                          Class of Shares                                 Number of Shares
                             Common                                          100000
                            Preferred                                           0


               State of Utah
               Department of Commerce
               Division of Corporations & Commercial Code

               This certifies that this registration has been filed and
               approved on 17, July 2020 in the office of the Division
               and hereby issues this Certification thereof.




         JASON STERZER
         Division Director
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.847 Page 57 of 94


                                           Article IV
                           Name and Address of Registered Agent
 The address of the corporation's initial registered office shall be:
                                     10081 Rockview Drive
                                        Sandy, UT 84092
 The corporation's initial registered agent at such address shall be:
                                       Kory Ronald Calmes
                                           Article V
                           Names and Addresses of Incorporators
 The name(s) and address(es) of the incorporators are:

      Incorporator #1
      Kory Ronald Calmes
      10081 Rockview Drive
      Sandy, UT 84092
      Kory Ronald Calmes
      Signature

 In Witness Whereof I / We have executed these Articles of Incorporation on 17 July, 2020
 and say:

 That they are all incorporators herein; that they have read the above and foregoing Articles
 of Incorporation; know the contents thereof and that the same is true to the best of their
 knowledge and belief, excepting as to matters herein alleged upon information and belief and
 as to those matters they believe to be true.

                                           Article VI
                      Names and Addresses of Officers and Directors
 The name(s) and address(es)of each officer and director:

            Officer #1
            Kory Ronald Calmes
            10081 Rockview Drive
            Sandy, UT 84092
            Kory Ronald Calmes
            Signature

            Officer #2
            Chadwick Hunsaker Calmes
            10081 Rockview Drive
            Sandy, UT 84092
            Signature

            President #1
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.848 Page 58 of 94


                 Kory Ronald Calmes
                 10081 Rockview Drive
                 Sandy, UT 84092
                 Kory Ronald Calmes
                 Signature

                 Vice President #1
                 Chadwick Hunsaker Calmes
                 10081 Rockview Drive
                 Sandy, UT 84092
                 Signature

                 Secretary #1
                 Kory Ronald Calmes
                 10081 Rockview Drive
                 Sandy, UT 84092
                 Kory Ronald Calmes
                 Signature

                 Director #1
                 Kory Ronald Calmes
                 10081 Rockview Drive
                 Sandy, UT 84092
                 Kory Ronald Calmes
                 Signature

                 Director #2
                 Chadwick Hunsaker Calmes
                 10081 Rockview Drive
                 Sandy, UT 84092
                 Signature

                                                            Article VII
                                                Principal Place of Business
 The street address of the principal place of the business is:
                                                                            10081 Rockview Drive
                                                                              Sandy, UT, 84092
                                                           Article VIII

 The duration of the corporation shall be                                   perpetual
 Under GRAMA {63-2-201}, all registration information maintained by the Division is classified as public record. For confidentiality
 purposes, the business entity physical address may be provided rather than the residential or private address of any individual affiliated
 with the entity.
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.849 Page 59 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.850 Page 60 of 94




                      Exhibit 46
    Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.851 Page 61 of 94
                                                            AZ CORPORATION COMM\SS\ON
,.i. COftPOAATION COMMlSSlON                                          FILED                                                            11i~111mmi11111111n11m111im 11111
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  ALE r11,L-2o~\~~1a                                                                                                                                           FILED
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                                                                 ARTICLES OF ORGANIZATION                                                               JUN 0 8 2015
                                                                           Read the Instructions LD1Jli                                                    l-.
       1. ENTITY TYPE - check only one to indicate the type of entity being forhLletlNO--..,                                                                    ~1/2                    1
                                                                                                                                                                                            . ~

                       (!] LIMITED LIABILITY COMPANY                                        O PROFESSIONAL LIMITED LIABILITY COMPANY
                           (entity name must CQntaln                                              (entity n11me must contain the words
                           the words "Limited Llabil ity                                          "Professional Limited Uablllty Company" or
                           Company• or "UC")                                                      "PUC")

       2.        ENTITY NAME - see Instructions L0l0I for full naming requirements - give the exact name of the LLC:
                 FJaherty Enterprises, LLC
       3.      PROFESSIONAL LIMITED LIABILJTY COMPANY SERVICES - if and only if profe=;slonal LLC is
               checked In number l above, describe the professional services that the professional LLC will provicle (examples: law
               firm, accounting, medical):




    r-=4.:..·----=.iS~TA~T~U;-;;TiO;;R~Y=A=G==E~N~T~fo==r~s=e~rv7::ic:=e~o::..f.!:p~roc=e=s::;sr-___:s'.::e;e~I;;ns~t~ru;ct~io;n;s:=:l::O=J:iOm~;Jr~r;.lJ·lrfDlt~fJ.:f),t~~;eeMt.M-SSK)N
                 4.1     REQUIRED - give the name (can be                                          4.2 OPTIONAL - ma                    ,,.,
                         an Arizona resident or an Arizona-registered                                       of Statutory Agent (can be a P,6J~
                         entity) and phys/QI# or stlfft address (not a
                         P.O. Box) In Arizona of the statutory agent:

     Travis Flaherty
    · Stat<Jtol')'    ent Name


          enUon (optlooal)

     23465 S. 202nd Street


                                                        AZ 85142                                                                               AZ
              Queen Creek                              Stall!!      Z:I                    City                                               5tiltie     Zt

             4.3 REQUIRED- the Statutory Agent Acceptance form M002 must be submitted along with these Articles of Organization.

      5.       ARIZONA KNOWN PLACE OF BUSINESS ADDRESS;
               5.1       ls the Arizona known place of business address the same as the street address of the
                         statutory agent? ~ Yes - go to number 6 and continue
                                            D No - go to number 5.2 and continue
              5.2         If you answered "No" to number 5.1, give the physical or street address (not a P.O.
                          Box) of the known place of business of the LLC in Arizona:


                             l\ttentlOn tol)tlooal)


                             Address 1


                             Address 2 [optional)


                             City
                                                                                                           I AZ l
                                                                                                             State or         Zip
                             Country                       U.S.A.                                            Province



     L01 D 002                                                                                                              Arizona Ccrpc,ratior. Comm,05\011 - Corpomlicr,o Divl&icn
     Reo: 2014                                                                                                                                                          Page 1 al 2
    Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.852 Page 62 of 94


    6. DURATION - if the duration or life period of the LLC is perpetual (forever), then skip this
       section and continue to number 7 or number 8, Otherwise, check only one box below and fill in
       the corresponding btank:

                  D The LLC's life period will end on this date: _ _ _ _ _ _ _ _ _ (enter a date)
                  D The LLC's life period will end upon the occurrence of this event: (describe an event)




    COMPLETE NUMBER 7 OR NUMBER 8 - NOT BOTH.
    7.     MANAGER-MANAGED LLC- see Instructions L010i- check this box Oif management of the
           LLC will be vested in a manager or managers (meaning one or more managers will run the
           company) and complete and attach ONLY the Manager Structure Attachment form L040. (Both
           members and managers will be listed on the Manager Structure Attachment.) The filing will be
           rejected if it is submitted without the attachment.


    8. MEMBER-MANAGED LLC - see Instructions L0l0i - check this box~ if management of the
           LLC will be reserved to the members (meaning all members will run the company together if
           there Is no operating agreement stating otherwise), and complete and attach ONLY the Member
           Structure Attachment form L041. (All members will be listed on the Member Structure
           Attachment.) The filing wlJ/ be rejected if it Is submitted without the attachment.


    9.    ORGANIZERS and SIGNATURE - the individual or pre-existing entity submitting this document
          Is the Organizer - 11st the name of the Organizer below, If the Organizer is an individual, that
          individual must sign below. If the Organizer is a pre-existing entity, provide the signature of the
          Individual acting for that entity, then print the individual's name.

                             The penon signing below declares and certifies under pen•lty of petjury
                             that the Information contained within this document together with any
                             attachments Is true and correct, and Is submitted In compliance with
                             Arizona law.




                                                                                                                                      6/1/15
                                                                                                                                     Date



    Printed Name (if different from Organizer)




                                                                                         Mail;      Arizona Corporation Commission
 Filing Fee: $50.00 (regular processing)
                                                                                                    Corporate Filings Section
 Expedited processing - add $35.00 to filing fee.
                                                                                                    1300 W. Washington St., Phoenix, Arizona 85007
 AU fees are nonrefundable - see Instructions.
                                                                                         Fax:       602-542-4100
Please be advised that A,C.C. forms reflect only the minimum provisions required by stablte. You should seek private legal counsel rcr those matters lhat may pertain to
the Individual needs of your business.
All documents fHecl with the Ar~onc1 Corporation Commission are public reeorcl and are open for public Inspection.
If vou ha•e questions after reading the [n$1:ructl0ns, please call 602·542·3026 or (within Arizona only) 800-345-5819,

   L010.0D2                                                                                                            Arizona COrpora~on Commission - Corporallons Divl•lon
   Rev: 2014                                                                                                                                                    Page2 of 2
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.853 Page 63 of 94




                                                      DO NOT WRITE ABOVE Tt!JS UNE; RESERVED FOR ACCUSE, ONlY.

                                                MEMBER STRUCTURE ATTACHMENT

   1,       ENTITY NAME - give the exact name of the LLC (foreign LLCs - give name in domicile state or country):
            Flaherty Enterprises, LLC

   2.       A.C.C. FILE NUMBER (if k n o w n ) : - - - - - - - - - - - - - - - - - - - - - . . . , . . . - - - , - - - - - -
            Find the A,C.C. file number on the upper corner of flied doOJments OR on our weM!te at: http:1/Www.azcc.gov/Dlvlslons/Corporatlons


   3.       MEMBERS - give the name and address of all Members. If more space Is needed, use another Member Structure
            Attachment form.
 fJ.                                                                          IL.

  Travis Flaherty                                                              Summer Flaherty
   Neme                                                                        Name

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     Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.854 Page 64 of 94



                                                      DO NOT   WWW A80Vt' THIS LINE; RESERVED FOR A(X USE ONLy_
                                              STATUTORY AGENT ACCEPTANCE
                                                                    Please read Instructions MJJIJ2i.

1.     ENTITY NAME - give the exact name in Arizona of the corporation or LLC that has appointed the
       Statutory Agent (this must match exactly the name as listed on the document appointing the
       statutory agent, e.g., Articles of Organization or Article of Incorporation):
             Flaherty Enterprises, LLC

2.     STATUTORY AGENT NAME - give the exact name of the Statutory Agent appointed by the
       entity listed In number 1 above (this wlll be either an individual or an entity). NOTE - the name
       must match exactly the statutory agent name as listed In the document that appoints the
       statutory agent (e.g. Articles of Incorporation or Articles of Organization), including any middle
       Initial or suffix:

           Travis Flaherty

3.     STATUTORY AGENT SIGNATURE:

       By the signature appearing below, the individual or entity named In number 2 above
       accepts the appointment as statutory agent for the entity named in number 1 above, and
       acknowledges that the appointment is effective until the appointing entity replaces the statutory
       agent or the statutory agent resigns, whichever ocaJrs first.
       The person signing below declares and certifies under penalty of perjury that the information
       contained within this document together with any attachments is true and correct, and is
       submitted In compliance with Arizona law.



                                                                       Travis Flaherty                                                                   6/25/15
                                                                             Miidklfflt

REQUIRED - check only one:
  IX] Individual as statutory agent: I am                                                □    Entity•• statutory agent: I am signing on
        signing on behalf of myself as the Individual                                         behalf of the entity named as statutory agent,
        (natural person) named as statutory agent.                                            and I am authorized to act for that entity.



 Filing Fee: none (regular processing)                                           Mall:       Arizona Corporation Commission - Corporate Filings Section
 Expedited processing - not applicable.                                                      1300 w. Washington St,, Phoenix, Artzona 85007
 All fees are norirefundal:lle - sea Instructions.                               Fax:        602-542-4100
Please i,. advlad !hat A.C.C. forms reflect only the mlni-m provisions reqUINd b!f sq,tuta. Vou choukl aellk pl'llllltll lagal coullSl!I for thosaa mabr& tut m.v pertain
to the lndlvldu.l nNds of vour busln.ss,
All documents ftlld wlth the N1z:m11 Corporation ComrnlSslon ate p1.11ane recont 1nd ere open for public Inspection.
If VDU l\ave questions alter reading the JnstruetiOns, l)luse c:.11 iOZ-5"2·3026 or (wll:hln Arizona only) 800-34S-5819.




MOD2.003                                                                                                              ~ ~ 6 o n cem-,, - Corporation• OM5lon
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 Case 2:23-cv-00482-RJS-DBP   Document
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    AUG 1 4 2015
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                           Articles of Organization
ARIZONA CORP. COMMISSIOO   Reference/PO#               L-2011288-9
 CORPORATIONS DIVISION
                           06


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                                                usmess
                                                   Gazette
                                      The business resource
                                                                    PO BOX 194
                                                            Phoenix, Arizona 85001-0194
                                                         (602) 444-7315 FAX (602) 444-5901




                           STATE OF ARIZONA
                           COUNTY OF MARICOPA                            } ss.
                           Melissa Hoekstra, being first duly sworn, upon oath
                           deposes and says: That she is the Legal Ad Rep of the
                           Arizona Business Gazette, a newspaper of general
                           circulation in the county of Maricopa, State of Arizona,
                           published weekly at Phoenix, Arizona, and that the
                           copy hereto attached is a true copy of the advertisement
                           published in the said paper on the dates indicated.
                                  7/30/2015
                                  8/6/2015
                                  8/13/2015




                             Sworn to before me this
                             13TH day of
                             AUGUST          2015
                                               MANUEL VARGAS
                                              Notary Public. state of Anzona
                                                 MARICOPA COUNTY
                                                MY Commiss\On Expire&                               Notary Public
                                                  November 30, 2015
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.856 Page 66 of 94




                NOTICE
            «or publication)
      ARTfCLES OF ORGANI-
    ZAT\ON HAVE BEEN FILED
    IN THE OFFICE OF THE
    ARIZONA CORPORATION
    COMMISSION FOR
                   I
      Name:
      FLAHERTY      ENTEll:PRIS•
    ES, LLC
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    Creek AZ- 85142
      The name and street

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    pany is reserved to the
    members. The names and
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      (Please check appropri-
    ate box)
      Travis Flaherty 23465 S
    202nd St Queen Creek AZ.
    85142
      fx] member[] manager
      Summer Flafierty 23465
    S 202nd St Queen Creek
    AZ 85142
      [:<.l member [l manager
      f>ublished: July 30; Au-
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         Case 2:23-cv-00482-RJS-DBP Document Arizona
7/ 19/23, 7:22 PM                            3-9 Filed      07/26/23
                                                     Corporations         PageID.857 Page 67 of 94
                                                                  Commission




       ENTITY INFORMATION
         Search Date and Time: 7/19/2023 6:21:38 PM


         Entity Details

                                                                                                                    Entity Name:
         FLAHERTY ENTERPRISES, LLC
                                                                                                                        Entity ID:
         L20112889
                                                                                                                     Entity Type:
         Domestic LLC
                                                                                                                   Entity Status:
         Active
                                                                                                                Formation Date:
         6/8/2015
                                                                                                              Reason for Status:
         In Good Standing

                                                                                                                  Approval Date:
         7/8/2015
                                                                                                                    Status Date:

                                                                                                    Original Incorporation Date:
         6/8/2015
                                                                                                                     Life Period:
         Perpetual
                                                                                                                 Business Type:

                                                                                                      Last Annual Report Filed:

                                                                                                                 Domicile State:
         Arizona
                                                                                                      Annual Report Due Date:

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                                                                                                          Original Publish Date:


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7/ 19/23, 7:22 PM                            3-9 Filed      07/26/23
                                                     Corporations         PageID.858 Page 68 of 94
                                                                  Commission

                                                                                                                                                                         Name:
         TRAVIS FLAHERTY

                                                                                                                                                            Appointed Status:
         Active
                                                                                                                                                                      Attention:

                                                                                                                                                                       Address:
         23465 S 202ND ST, QUEEN CREEK, AZ 85142, USA

                                                                                                                                                          Agent Last Updated:
         7/8/2015
                                                                                                                                                                         E-mail:

                                                                                                                                                                      Attention:

                                                                                                                                                                Mailing Address:
         23465 S 202ND ST, QUEEN CREEK, AZ 85142, USA

                                                                                                                                                                        County:




         Principal Information


                                                                                                                                               Date of Taking       Last
        Title             Name                                                     Attention                         Address
                                                                                                                                               Office               Updated
      ____..........................................................................................._________________________
                          SUMMER                                                                                     23465 S 202ND ST, QUEEN
        Member                                                                               6/8/2015            7/8/2015
                    FLAHERTY                           CREEK,AZ,85142,USA
      ----························································-··································-------------------------
                          TRAVIS                                                                                     23465 S 202ND ST, QUEEN
        Member                                                                                                                                 6/8/2015             7/8/2015
                          FLAHERTY                                                                                   CREEK,AZ,85142,USA
      ____            ........................................................ -..................................   _________________________
          Page 1 of 1, records 1 to 2 of 2




         Address

         Attention:
         Address: 23465 S 202ND ST, QUEEN CREEK, AZ, 85142, USA
         County: Maricopa
         Last Updated: 6/10/2015



         Entity Principal Office Address
          Privacy Policy (http://azcc.gov/privacy•policy) I Contact Us (http://azcc.gov/corporations/corporation·contacts)

https://ecorp .azcc.gov/Busi nessSearch/Busi nessl nfo ?entityN u mber=L20112889                                                                                                   2/3
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                                                     Corporations         PageID.859 Page 69 of 94
                                                                  Commission

         Attention:
         Address:
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          Back        Return to Search

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Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.860 Page 70 of 94




                      Exhibit 47
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.861 Page 71 of 94




                 Business License Details / ΔϳΩΎλΗϗϻ΍ΔλΧέϟ΍ϝϳλΎϔΗ


            10307     BL Local No / ϲϠΣϣϟ΍ΔλΧέϟ΍ϡϗέ                    11775650                         CBLS No / ϱΩΎλΗϗϻ΍ϝΟγϟ΍ϡϗέ

                                                                  ΡϡείέηΗϧϓαϛ΍ϱ΁     Business Name Arabic / ϰΑέϋϱΩΎλΗϗϻ΍ϡγϻ΍
                                                              IX VENTURES FZCO          Business Name English / ϱίϳϠΟϧ΍ϱΩΎλΗϗϻ΍ϡγϻ΍

                                                               Free Zone Company                             Legal Type / ϲϧϭϧΎϘϟ΍ϝϛηϟ΍

                        Parent BL No / ϡϷ΍Γ΄ηϧϣϟ΍ϡϗέ                           No                                    Is Branch / ωέϓ

        20/09/2023         Expiry Date / ˯ΎϬΗϧϻ΍ΦϳέΎΗ                  21/09/2021                             Est. Date / αϳγ΄Ηϟ΍ΦϳέΎΗ

                                                                        Active / ϝΎόϓ                                     Status / ΔϟΎΣ

                                                                        08/06/2023                           Modify Date / ϝϳΩόΗϟ΍ΦϳέΎΗ

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                                eMail / ϲϧϭέΗϛϟϻ΍ΩϳέΑϟ΍                                                     PO. Box / ΩϳέΑϟ΍ϕϭΩϧλϡϗέ

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                      Exhibit 48
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Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.863     Page 73  #: 9000573020
                                                                                    of 94 Pages: 3
                                                                        Corporation Name: PURDY OIL, LLC
                                                                        Filing Date and Time: 01/11/2021 04:19 PM
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.864 Page 74 of 94
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.865 Page 75 of 94
                                                                        NE Sec of State - Robert B. Evnen
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Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.866     Page 76  #: 9000591127
                                                                                    of 94 Pages: 1
                                                                        Corporation Name: PURDY OIL, LLC
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 Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.868      Page 78 #: 9000794571
                                                                                     of 94 Pages: 1
                                                                                Corporation Name: PURDY OIL, LLC
                                                                                Filing Date and Time: 10/12/2022 10:40 AM
                      STATEMENT OF CHANGE
            OF DESIGNATED OFFICE, REGISTERED AGENT
               and/or REGISTERED AGENT’S ADDRESS
             LIMITED LIABILITY COMPANY (DOMESTIC)
                                   Robert B. Evnen Secretary of State
                                           P.O. Box 94608
                                          Lincoln, NE 68509
                                        www.sos.nebraska.gov
                                      PURDY OIL, LLC
Name of Limited Liability Company _____________________________________________________

___________________________________________________________________________________

Complete all current information, check the item(s) changing, and provide the new
information:

Current:
                  4756 COUNTY RD. 46 PO BOX 94 PINE BLUFFS, WY 82082 KIMBALL
Designated Office ______________________________________________________        69145
                                                                             NE ________
                  Street and Mailing Address                        City                        Zip

                 GENE PURDY
Registered Agent __________________________________________________________________

                4756 ROAD 46                         KIMBALL                69145
Agent’s Address ____________________________________________________ ___ NE ________
                Street Address and                                  City                        Zip
                Post Office Box Number (if any)
New:
___ Designated Office ___________________________________________________ NE ________
                     Street and Mailing Address                     City                        Zip

                      Registered Agents Inc
 ✔ Registered Agent ________________________________________________________________
___

                   200 S 21st STSTE 400A               Lincoln
 ✔ Agent’s Address __________________________________________________
___
                                                                             68510
                                                                      ___ NE ________
                     Street Address and                             City                        Zip
                     Post Office Box Number (if any)

Effective date if other than the date filed 10/11/2022

                                                       __________________________________________
                                                       Signature of Authorized Representative

                                                       __________________________________________
                                                       Printed Name of Authorized Representative




FILING FEE: $30.00 (In-Office) / $25.00 (Online)
Revised 07/01/2021                                                            Neb. Rev. Stat. §21-114
                                                             NE Sec of State - Robert B. Evnen
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23     PageID.869
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                                                                   #: 2304167624     79
                                                                                 Pages: 1 of 94
                                                             Company Name: PURDY OIL, LLC
                                                             Filing Date and Time: 04/06/2023 12:25 AM
                                                             NE Sec of State - Robert B. Evnen
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23     PageID.870
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                                                                   #: 2306261597     80
                                                                                 Pages: 1 of 94
                                                             Company Name: PURDY OIL, LLC
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7/20/23, 11:22 AM 2:23-cv-00482-RJS-DBP   Document
                                     Nebraska Secretary of 3-9     Filed 07/26/23
                                                           State - Corporation            PageID.871
                                                                               and Business                   Page 81 of 94
                                                                                            Entity Searches - Detail


     PURDY OIL, LLC
                                                                                                              Thu Jul 20 12:22:09 2023


     SOS Account Number
     2101003994
     Status
     Inactive

     Principal Office Address
     No address on file
     Registered Agent and Office Address
     REGISTERED AGENTS INC
     200 S 21ST ST STE 400A
     LINCOLN, NE 68510
     Designated Office Address
     4756 COUNTY RD. 46
     PO BOX 94 PINE BLUFFS, WY 82082
     KIMBALL, NE 69145

     Nature of Business
     Not Available
     Entity Type
     Domestic LLC
     Qualifying State: NE
     Date Filed
     Jan 11 2021

     Next Report Due Date
     Inactive, Not Applicable



  Filed Documents
  To purchase copies of filed documents check the box to the left of the document code. If no checkbox appears, contact the Secretary
  of State's office to request the document(s).

           Document                                           Date Filed                             Price

           Certificate of Organization                        Jan 11 2021                            $1.35 = 3 page(s) @ $0.45 per
                                                                                                     page

           Amendment                                          Jan 25 2021                            $0.45 = 1 page(s) @ $0.45 per
                                                                                                     page

           Statement of Change                                Oct 12 2022                            $0.45 = 1 page(s) @ $0.45 per
                                                                                                     page

           Amendment                                          Oct 12 2022                            $0.45 = 1 page(s) @ $0.45 per
                                                                                                     page

           Record of Determination                            Apr 06 2023                            $0.45 = 1 page(s) @ $0.45 per
                                                                                                     page

           Administrative Dissolution                         Jun 21 2023                            $0.45 = 1 page(s) @ $0.45 per
                                                                                                     page


  Good Standing Documents

https://www.nebraska.gov/sos/corp/corpsearch.cgi?acct-number=2101003994                                                                  1/2
          Case
7/20/23, 11:22 AM 2:23-cv-00482-RJS-DBP   Document
                                     Nebraska Secretary of 3-9     Filed 07/26/23
                                                           State - Corporation            PageID.872
                                                                               and Business                   Page 82 of 94
                                                                                            Entity Searches - Detail

  To purchase documents attesting to the entity's good standing check the box next to the document title.

          If you need your Certificate of Good Standing Apostilled or Authenticated for use in another country, you must contact the
          Nebraska Secretary of State's office directly for information and instructions. Documents obtained from this site cannot be
          Apostilled or Authenticated.


          Online Certificate of Good Standing with Electronic Validation

            This certificate is currently not available. Please contact the Nebraska Secretary of State's office by email at
            sos.corp@nebraska.gov or by calling (402) 471-4079 for information and instructions.


          Certificate of Good Standing - USPS Mail Delivery

            This certificate is currently not available. Please contact the Nebraska Secretary of State's office by email at
            sos.corp@nebraska.gov or by calling (402) 471-4079 for information and instructions.


  Select All | Select None


                                                                                                                                Back to Top




https://www.nebraska.gov/sos/corp/corpsearch.cgi?acct-number=2101003994                                                                    2/2
Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.873 Page 83 of 94




                      Exhibit 49
          Case
7/20/23, 11:25 AM 2:23-cv-00482-RJS-DBP SilverFlume
                                        Document       3-9 Business
                                                    Nevada's Filed Portal
                                                                    07/26/23         PageID.874
                                                                          to start/manage your business Page 84 of 94




     ENTITY INFORMATION



        ENTITY INFORMATION



            Entity Name:

            THE MINERAL COLLECTIVE, LLC
            Entity Number:

            E0100172019-5

            Entity Type:

            Domestic Limited-Liability Company (86)
            Entity Status:

            Active

            Formation Date:

            03/04/2019
            NV Business ID:

            NV20191171743

            Termination Date:

            Perpetual

            Annual Report Due Date:

            3/31/2024

            Series LLC:



            Restricted LLC:




        REGISTERED AGENT INFORMATION


https://esos.nv.gov/EntitySearch/BusinessInformation                                                                    1/3
          Case
7/20/23, 11:25 AM 2:23-cv-00482-RJS-DBP SilverFlume
                                        Document       3-9 Business
                                                    Nevada's Filed Portal
                                                                    07/26/23         PageID.875
                                                                          to start/manage your business Page 85 of 94


             Name of Individual or Legal Entity:

             Roy Nelson
             Status:

             Active

             CRA Agent Entity Type:

             Registered Agent Type:

             Non-Commercial Registered Agent

             NV Business ID:

             Office or Position:


             Jurisdiction:


             Street Address:

             385 Terrabianca, Henderson, NV, 89102, USA

             Mailing Address:


             Individual with Authority to Act:


             Fictitious Website or Domain Name:




      OFFICER INFORMATION

             VIEW HISTORICAL DATA


     Title         Name             Address                                                     Last Updated Status

     Manager Roy Nelson 1810 East Sahara Ave Ste 425, Las Vegas, NV, 89104, USA                03/31/2021        Active

       Page 1 of 1, records 1 to 1 of 1


                                                             Filing History    Name History    Mergers/Conversions




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https://esos.nv.gov/EntitySearch/BusinessInformation                                                                      2/3
          Case
7/20/23, 11:25 AM 2:23-cv-00482-RJS-DBP SilverFlume
                                        Document       3-9 Business
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                                                                          to start/manage your business Page 86 of 94




https://esos.nv.gov/EntitySearch/BusinessInformation                                                                    3/3
         Case
7/20/23, 9:51 AM 2:23-cv-00482-RJS-DBP SilverFlume
                                        Document       3-9 Business
                                                   Nevada's  FiledPortal
                                                                    07/26/23        PageID.877
                                                                         to start/manage your business Page 87 of 94




     FILING HISTORY



        ENTITY INFORMATION



            Entity Name:

            THE MINERAL COLLECTIVE, LLC
            Entity Number:

            E0100172019-5

            Entity Type:

            Domestic Limited-Liability Company (86)
            Entity Status:

            Active

            Formation Date:

            03/04/2019
            NV Business ID:

            NV20191171743

            Termination Date:

            Perpetual

            Annual Report Due Date:

            3/31/2024

            Series LLC:



            Restricted LLC:




https://esos.nv.gov/EntitySearch/BusinessFilingHistoryOnline                                                           1/2
         Case
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                                        Document       3-9 Business
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                                                                         to start/manage your business Page 88 of 94

     FILING HISTORY DETAILS

                     Effective                                                        Amendment               # of
     File Date       Date             Filing Number Document Type                     Type      Source        Pages     View

     04/10/2023 04/10/2023 20233114308                         Annual List                         External   2

     04/10/2023 04/10/2023 20233206914                         Amendment to                        Internal   2
                                                               Articles of
                                                               Organization

     02/27/2022 02/27/2022 20222129857                         Annual List                         External   2

     03/31/2021 03/31/2021 20211351875                         Annual List                         External   2

     07/24/2020 07/24/2020 20200805869                         Noncommercial                       External   1
                                                               Registered Agent-
                                                               Statement...

     03/01/2020 03/01/2020 20200514097                         Annual List                         External   2

     03/04/2019 03/04/2019 20190097979-                        Initial List                        External   1
                           63

     03/04/2019 03/04/2019 20190097978-                        Articles of                         External   1
                           52                                  Organization

       Page 1 of 1, records 1 to 8 of 8



     FILING DATE SNAPSHOT AS OF: 04/10/2023



          Business Details                Name Changes                 Principal Office    Registered Agent

          Officer Information               Shares

        RA Type                Name            Attention              Address1/Address2/City/State/Zip/Country        Email

        Non-                   Roy                                    385 Terrabianca, Henderson, NV, 89102, USA
        Commercial             Nelson
        Registered
        Agent




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https://esos.nv.gov/EntitySearch/BusinessFilingHistoryOnline                                                                   2/2
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                                                   Nevada's  FiledPortal
                                                                    07/26/23        PageID.879
                                                                         to start/manage your business Page 89 of 94




     FILING HISTORY



        ENTITY INFORMATION



            Entity Name:

            THE MINERAL COLLECTIVE, LLC
            Entity Number:

            E0100172019-5

            Entity Type:

            Domestic Limited-Liability Company (86)
            Entity Status:

            Active

            Formation Date:

            03/04/2019
            NV Business ID:

            NV20191171743

            Termination Date:

            Perpetual

            Annual Report Due Date:

            3/31/2024

            Series LLC:



            Restricted LLC:




https://esos.nv.gov/EntitySearch/BusinessFilingHistoryOnline                                                           1/3
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                                                                         to start/manage your business Page 90 of 94

     FILING HISTORY DETAILS

                     Effective                                                        Amendment              # of
     File Date       Date             Filing Number Document Type                     Type      Source       Pages   View

     04/10/2023 04/10/2023 20233114308                         Annual List                       External    2

     04/10/2023 04/10/2023 20233206914                         Amendment to                      Internal    2
                                                               Articles of
                                                               Organization

     02/27/2022 02/27/2022 20222129857                         Annual List                       External    2

     03/31/2021 03/31/2021 20211351875                         Annual List                       External    2

     07/24/2020 07/24/2020 20200805869                         Noncommercial                     External    1
                                                               Registered Agent-
                                                               Statement...

     03/01/2020 03/01/2020 20200514097                         Annual List                       External    2

     03/04/2019 03/04/2019 20190097979-                        Initial List                      External    1
                           63

     03/04/2019 03/04/2019 20190097978-                        Articles of                       External    1
                           52                                  Organization

       Page 1 of 1, records 1 to 8 of 8



     FILING DATE SNAPSHOT AS OF: 04/10/2023



          Business Details                Name Changes                 Principal Office   Registered Agent

          Officer Information               Shares

         Business Name :

         THE GOLD COLLECTIVE LLC

         Entity Type :

         Domestic Limited-Liability Company (86)
         Jurisdiction :

         Nevada

         Formation Date in Jurisdiction :


         Annual Report Due Date :

         3/31/2023

https://esos.nv.gov/EntitySearch/BusinessFilingHistoryOnline                                                                2/3
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                                           Back          Return to Search   Return to Results




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Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.882 Page 92 of 94




                      Exhibit 50
    Case 2:23-cv-00482-RJS-DBP Document 3-9 Filed 07/26/23 PageID.883     Page 93 of 94
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               State of Utah
               DEPARTMENT OF COMMERCE
               Division of Corporations & Commercial Code



                               Application for Authority to Transact Business
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 Delaware.gov                                                                                             Governor | General Assembly | Courts | Elected Officials | State Agencies
                                                                                                     Photo: Featured Delaware Photo




  Department of State: Division of Corporations
                                                                                                                                                                    Allowable Characters

  HOME
                                                                                                                      Entity Details


                                                                                               THIS IS NOT A STATEMENT OF GOOD STANDING

                                                                                                              Incorporation Date /     10/30/2019
                                                           File Number:                 7679222
                                                                                                                  Formation Date:      (mm/dd/yyyy)

                                                           Entity Name:                 UIU HOLDINGS LLC

                                                                                        Limited
                                                           Entity Kind:                 Liability                      Entity Type:    General
                                                                                        Company

                                                           Residency:                   Domestic                              State:   DELAWARE


                                                           REGISTERED AGENT INFORMATION


                                                           Name:                        HARVARD BUSINESS SERVICES, INC.

                                                           Address:                     16192 COASTAL HWY

                                                           City:                        LEWES                                County:   Sussex

                                                           State:                       DE                           Postal Code:      19958

                                                           Phone:                       302-645-7400


                                                           Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                           more detailed information including current franchise tax assessment, current filing history
                                                           and more for a fee of $20.00.
                                                           Would you like     Status      Status,Tax & History Information

                                                            Submit


                                                            View Search Results                                New Entity Search

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https://icis.corp.delaware.gov/ecorp/entitysearch/NameSearch.aspx                                                                                                                     1/1
